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 1   STEVEN D. BAUER
     Attorney at Law - SBN 50084
 2   428 J Street - Suite 350
     Sacramento, California 95814
 3   Telephone: (916) 447-8262
     E-mail: baueresq@sbcglobal.net
 4
     Attorney for Defendant: JESUS OLIVERA
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 7
                        IN THE UNITED STATES DISTRICT COURT
 8
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,                      )       No. 2:06-cr-00323-MCE
11                                                  )
                                      Plaintiff,    )
12                                                  )       STIPULATION AND ORDER
                          v.                        )             THEREON
13                                                  )
     JESUS OLIVERA, ET AL.,                         )       (Continuing Status to 6/26/08)
14                                                  )
                                 Defendant,         )
15                                                      )
16          It is hereby stipulated between counsel for the government and all defendants that
17   the status conference presently scheduled for June 5, 2008 may be continued to June 26,
18   2008 at 9;00 a.m. This matter was previously continued to June 5, 2008 by agreement of
19   the parties. Counsel for defendant, Olivera, overlooked a previous commitment. The
20   reasons stated in the most recent stipulation continue to apply and time should be
21   excluded.
22           In light of the foregoing, additional time will be required in order for the defense
23   to prepare. See 18 U.S.C. § 3161(h)(8)(A) and 3161(h)(8)(B)(iv). Local Code T-4.
24   Dated: May 5, 2008                                       Dated: May 5, 2008
25   / s / Samuel Wong                                        / s / Steven D. Bauer
26   SAMUEL WONG                                              STEVEN D. BAUER
     Assistant United States Attorney                         Attorney for Defendant
27
     (Additional signatures and Order on Following Page)
28
        Case 2:06-cr-00323-MCE Document 57 Filed 05/07/08 Page 2 of 2


 1   Dated: May 5, 2008                            Dated: May 5, 2008
 2   / s / Michael Bigelow                         / s / Gilbert Roque
 3   MICHAEL BIGELOW                               GILBERT ROQUE
 4   For Good Cause Appearing
 5
     IT IS SO ORDERED.
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 7
      Dated: May 6, 2008
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                                         ________________________________
 9                                       MORRISON C. ENGLAND, JR.
                                         UNITED STATES DISTRICT JUDGE
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